                   Case 21-10023-JTD           Doc 267        Filed 06/30/21        Page 1 of 3




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                               )
    In re:                                                     )   Chapter 11
                                                               )
    WARDMAN HOTEL OWNER, L.L.C.,                               )   Case No. 21-10023 (JTD)
                                                               )
                                    Debtor.                    )
                                                               )   Re: Docket No. 208


      REQUEST FOR ALLOWANCE AND PAYMENT OF ADMINISTRATIVE CLAIM

             Pursuant to the Order (I) Setting Bar Dates for Filing Proofs of Claim, Including Requests

for Payment Under Section 503(b)(9), (II) Setting a Bar Date for the Filing of Proofs of Claim by

Governmental Units, (III) Setting a Bar Date for the Filing of Requests for Allowance of

Administrative Expense Claims, (IV) Establishing Amended Schedules Bar Date and Rejection

Damages Bar Date, (V) Approving the Form of and Manner for Filing Proofs of Claim, (VI)

Approving Notice of Bar Dates, and (VII) Granting Related Relief [Docket No. 208] (the “Bar

Date Order”), Enseo, LLC (f/k/a Enseo, Inc.) (“Enseo”), by and through undersigned counsel,

hereby submits its administrative expense claim (the “Administrative Claim”) under section 503(b)

of the Bankruptcy Code and respectfully represents as follows:

             1.     Enseo and Wardman Hotel Owner, L.L.C. (“Wardman” or the “Debtor”) entered

into the Enseo Site Services Agreement (“Agreement”)1 effective as of November 8, 2016.2

Pursuant to the Agreement, Enseo provided the Enseo Entertainment Experience (“E3”)® and

other services to the Debtor in exchange for, among other things, a monthly recurring fee, non-



1
   The Agreement contains confidential business terms and is confidential and proprietary by its terms. See
Agreement ¶ 16. Therefore, the Agreement is not attached hereto. However, the Agreement will be provided upon
reasonable request, subject to any necessary precautions.

2
  For the avoidance of doubt, to the extent of any inconsistency between this Administrative Claim and the Agreement,
the terms of the Agreement shall control.
                 Case 21-10023-JTD             Doc 267       Filed 06/30/21        Page 2 of 3




recurring fees, taxes, and expenses. See Agreement ¶¶ 5-6. The Agreement has a five-year term,

which was subject to extension. Id. ¶ 7. As of the Petition Date, the Agreement was not terminated

and was to expire on its own terms on or about November 8, 2021 unless extended per the

Agreement. Id.

        2.       On or about April 2017, the parties entered into an amendment to the Agreement

(the “Amendment”) that, among other things granted a limited license to the Participating Site (as

that term is defined in the Amendment).

        3.       Specifically, as to this Administrative Claim, Enseo provided the Debtor with,

among other things, the Enseo Entertainment Experience (“E3”)® for its hotel rooms, which

included a welcome channel, channel banners, an interactive program guide, and program guide

data for the channels displayed on each TV. Enseo provided additional services as described in

the Agreement and the Amendment, including but not limited to, a program interface and a digital

channel lineup of HD and SD channels.3

        4.       Since the Petition Date, Enseo has continued to provide E3® services to the Debtor

under the Agreement. Because Enseo continues to provide the E3® services to the Debtor, the

Agreement was an executory contract on the Petition Date, and remains an executory contract that

has not been assumed or rejected as of the filing of this Administrative Claim, an administrative

expense claim continues to accrue under section 503(b) of the Bankruptcy Code. As of May 31,

2021, Enseo’s administrative expense claim totaled not less than $24,649.08 equal to the monthly




3
  Enseo also provided the Debtor with its Equipment (as defined in the Agreement) for which the Debtor could utilize
Enseo’s E3® and related services. See Agreement, Ex. A. Such Equipment included but is not limited to satellite
receiving equipment, head-end, and set-back-boxes provided by Enseo. Id. For the avoidance of doubt, the Equipment
is not, and never was, property of the Debtor’s estate.


                                                             2
               Case 21-10023-JTD                Doc 267   Filed 06/30/21   Page 3 of 3




fees for the E3® services of $5,306.40 for the months of February through May and the stub

portion for the month of January in the amount of $3,423.48.

       5.       Enseo reserves all rights to amend and/or further supplement this Administrative

Claim, including, without limitation, to include additional amounts. Specifically, Enseo has and

will continue to provide the E3® services to the estates pursuant to the terms of the Agreement

until otherwise instructed by the estates, and reserves all rights to seek payment for amounts owed

on account of such services.

       6.       Any party seeking information concerning this Administrative Claim should

contact the undersigned counsel.

Dated: June 30, 2021                                      Respectfully submitted,
Wilmington, Delaware

                                                          /s/ Aaron H. Stulman
                                                          L. Katherine Good (No. 5101)
                                                          Aaron H. Stulman (No. 5807)
                                                          POTTER ANDERSON & CORROON LLP
                                                          1313 N. Market Street, 6th Floor
                                                          Wilmington, DE 19801-6108
                                                          Telephone: 302.984.6000
                                                          Facsimile: 302.658.1192
                                                          Email: kgood@potteranderson.com
                                                                  astulman@potteranderson.com

                                                          Counsel to Enseo, LLC (f/k/a Enseo, Inc.)




                                                          3

       IMPAC - 7246924v.2 06/30/2021 11:17 AM
